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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG                   :      MDL 2179
       “DEEPWATER HORIZON” IN THE                 :
       GULF OF MEXICO, ON APRIL 20, 2010          :      Section J
                                                  :
This Document Applies to:                         :      Judge Barbier
                                                  :
No. 12-970, Bon Secour Fisheries, Inc., et        :      Mag. Judge Shushan
al. v. BP Exploration & Production Inc., et al.   :

                                    ORDER AND JUDGMENT

       AND NOW this _______ day of January, 2014, pursuant to Rule 54, Federal Rules of

Civil Procedure, and upon motion of the Special Master, Louis J. Freeh, seeking the return of

payments made to Casey C. Thonn and others by the Deepwater Horizon Economic Claims

Center (“DHECC”), and the Court having reviewed and considered any opposition and/or

arguments in response thereto; and for the reasons set forth on the records; the Court

hereby FINDS as follows:

       1. The Court has continuing and exclusive jurisdiction over each of Casey C. Thonn,

AndryLerner LLC, Jonathan Andry, Glen Lerner, Lionel Sutton, III, and the Coastal Claims

Group, LLC for enforcing the Deepwater Horizon Economic and Property Damages

Settlement Agreement as amended on May 2, 2012; and

       2. Each of Casey C. Thonn, AndryLerner LLC, Jonathan Andry, Glen Lerner, Lionel

Sutton, III, and the Coastal Claims Group, LLC was properly notified of the Court’s

proceedings pursuant to the Special Master’s motion; and

       3. Pursuant to Rule 54(b), Federal Rules of Civil Procedure, as this action presents

more than one claim for relief and involves multiple parties, the Court expressly

determines that there is no just reason for delay of the entry of a judgment on the issues
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presented in the Special Master’s motion and this Order as to each of Casey C. Thonn,

AndryLerner LLC, Jonathan Andry, Glen Lerner, Lionel Sutton, III, and the Coastal Claims

Group, LLC.

       PURSUANT TO these findings, it is hereby ORDERED that the Settlement Payments

in favor of Casey C. Thonn based upon Claim 19690 (vessel owner) and Claim 19691

(vessel captain) are hereby RESCINDED and VACATED; and it is further

       ORDERED that Casey C. Thonn shall make full restitution to the DHECC for Claims

19690 and 19691, and shall immediately return and disgorge $357,002.35 plus

prejudgment interest and costs to the DHECC, and Casey C. Thonn shall not participate in

any further distribution under the DHECC Seafood Compensation Program; and it is further

       ORDERED that AndryLerner LLC and its partners Jonathan Andry and Glen Lerner,

jointly and severally, shall make full restitution to the DHECC for any money received from

or in connection with Claims 19690 and 19691, and shall immediately return and disgorge

all attorney’s fees paid plus prejudgment interest and costs in relation to these DHECC

claims; and it is further

       ORDERED that Lionel Sutton, III, shall make full restitution to the DHECC for any

money received from or in connection with Claims 19690 and 19691, and shall

immediately return and disgorge $35,700.23 in attorney’s fees plus prejudgment interest

and costs in relation to these DHECC claims; and it is further

       ORDERED that the Coastal Claims Group, LLC shall make full restitution to the

DHECC for any money received from or in connection with Claims 19690 and 19691, and

shall immediately return and disgorge $20,182.50 in accounting fees plus prejudgment

interest and costs in relation to these DHECC claims; and it is further


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       ORDERED that within 14 days of the date of this Order, the DHECC shall make an

appropriate application to the Court under Rule 54(d) of the Federal Rules of Civil

Procedure for the costs associated with this Order.

       Pursuant to Rule 58, Federal Rules of Civil Procedure, the Clerk of Court is directed

to promptly prepare, sign, and enter judgments consistent with this Order and in separate

documents against each of Casey C. Thonn, AndryLerner LLC, Jonathan Andry, Glen Lerner,

Lionel Sutton, III, and the Coastal Claims Group, LLC.

       The United States Marshal shall provide services as may be needed by the Special

Master and DHECC in enforcement of these judgments.

       Signed in New Orleans, Louisiana, this ______ day of January, 2014.



                                           _______________________________________
                                           HONORABLE CARL J. BARBIER
                                           UNITED STATES DISTRICT JUDGE




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